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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

MAGA NEL

(In the space above enter the full name(s) of the plaintiff(s).)

- against -

Qo, nos Cow COMPLAINT

Jury Trial: O Yes No

(check one)

RECD NOV 45 2023

(In the space above enter the full name(s) of the defendant(s). If you
eannot fit the names of all of the defendants in the space provided,
please write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in
Part I. Addresses should not be included here.)

I. Parties in this complaint:
A. List your name, address and telephone number. If you are presently in custody, include your identification

number and the name and address of your current place of confinement, Do the same for any additional
plaintiffs named. Attach additional sheets of paper as necessary.

Plaintiff Name W\, od KANG ee oT,
Street Address YING G AROVCRR A WN \

Yc!
County, City Moacse Cou a A ‘sy ex Co dye ras
State & Zip Code x 2 ARGU BPRS \G5S \

Telephone Number SACS 5 6 Sb

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B. List all defendants. You should state the full name of the defendants, even if that defendant is a government
agency, an organization, a corporation, or an individual. Include the address where each defendant can be
served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.

Attach additional sheets of paper as necessary.

Defendant No. |

Defendant No. 2

Defendant No. 3

Defendant No. 4

II. Basis for Jurisdiction:

Name Dow ass Cow

Street Address \AR A 2 nN mh cP os say

County, City

RAcrerO And

State & Zip Code

Name

We Qe ARG

Street Address

County, City

State & Zip Code

Name

Street Address

County, City

State & Zip Code

Name

Street Address

County, City

State & Zip Code

Federal courts are courts of limited jurisdiction. Only two types of cases can be heard in federal court: cases
involving a federal question and cases involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a
case involving the United States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. §
1332, a case in which a citizen of one state sues a citizen of another state and the amount in damages is more than
$75,000 is a diversity of citizenship case.

A. What is the basis for federal court jurisdiction? (check all that apply)
Q Diversity of Citizenship

Q Federal Questions

B. If the basis for jurisdiction is Federal Question, what federal Constitutional, statutory or treaty right is at

issue?

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C. If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

Plaintiff(s) state(s) of citizenship

Defendant(s) state(s) of citizenship

II. Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the caption of this
complaint is involved in this action, along with the dates and locations of all relevant events. You may wish to
include further details such as the names of other persons involved in the events giving rise to your claims. Do not
cite any cases or statutes. If you intend to allege a number of related claims, number and set forth each claim in a
separate paragraph. Attach additional sheets of paper as necessary.

A. Where did the events giving rise to your claim(s) occur? a ike S Io OW. € Ay nw TX ,

poy eX rad Deo. CA \QS o\

B. What date and approximate time did the events giving rise to your claim(s) occur?

WN AM 6 CASA,

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else
involved?

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happened?

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IV. Injuries:

If you sustained injuries related to the events alleged above, describe them and state what medical treatment, if any,

you required and received.

V. Relief:

State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking, and

the vt for such compensation.

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So WEN K&* Ree Cod banzed,

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I declare under penalty of perjury that the foregoing is true and correct.

Signed this Ww day of WN OVRA ON LE , 20 WW .

Signature of mint SSS Naa Boo.

Mailing Address Wh S hAS XY ce NS rs QX
Ae au cx ca eOows wy Yk AIOHON,

Telephone Number “3° \_¥ “YOO WW» tes
Fax Number (if you have one)

Exmail Address °83 ane aX \ Www. born

Note: All plaintiffs named in the caption of the complaint must date and sign the complaint. Prisoners must also
provide their inmate numbers, present place of confinement, and address.

For Prisoners:

I declare under penalty of perjury that on this day of , 20 , | am delivering
this complaint to prison authorities to be mailed to the Clerk’s Office of the United States District Court for the
Eastern District of Pennsylvania.

Signature of Plaintiff:

Inmate Number

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Important Privacy Notice

Federal Rule of Civil Procedure 5,2 prohibits litigants in a non-habeas proceeding from
submitting documents that contain personal information. Unless the Court orders otherwise,
personal identifying information in Court filings must be limited as follows:

* Social security numbers, taxpayer-identification numbers, and financial account numbers
must include only the last four digits (¢.g., xxx-xx-1234)

* Birth dates must include the year of birth only (e.g., xx/xx/2000)
* Names of persons under the age of 18 must be indicated by initials only (e.g., A.B.)

You are responsible for protecting the privacy of this information in your filings. If your
documents, including attachments, contain any information that does not comply with this rule,
please black out that information before sending your documents to the Court.
